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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                      RICHMOND DIVISION

                                                                        )
     In re:                                                             ) Chapter 11
                                                                        )
     GYMBOREE GROUP, INC., et al., 1                                    ) Case No. 19-30258 (KLP)
                                                                        )
                               Debtors.                                 ) (Jointly Administered)
                                                                        )



                                            AFFIDAVIT OF SERVICE

        I, Nuno Cardoso, depose and say that I am employed by Prime Clerk LLC (“Prime
 Clerk”), the claims and noticing agent for the Debtors in the above-captioned chapter 11 cases.


         On February 27, 2019, at my direction and under my supervision, employees of Prime
 Clerk caused the following document to be served via Email on the Core/2002 Email Service
 List attached hereto as Exhibit A:

       •      Notice of Adjournment of Auction to Friday, March 1, 2019 at 9:00 a.m. (prevailing
              Eastern Time) and Extension of Adequate Assurance Objection Deadline to Monday,
              March 4, 2019 at 11:00 a.m. (prevailing Eastern Time) [Docket No. 440] the (“Auction
              Adjournment Notice”)

        On February 28, 2019, at my direction and under my supervision, employees of Prime
 Clerk caused the Auction Adjournment Notice to be served via Overnight Mail on the Core/2002
 Overnight Service List attached hereto as Exhibit B; via Overnight Mail on the Auction Parties
 Service List attached hereto as Exhibit C.




 1
       The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
       Gymboree Group, Inc. (6587); Gymboree Intermediate Corporation (1473); Gymboree Holding Corporation
       (0315); Gymboree Wholesale, Inc. (6588); Gym-Mark, Inc. (6459); Gymboree Operations, Inc. (6463);
       Gymboree Distribution, Inc. (8669); Gymboree Manufacturing, Inc. (6464); Gymboree Retail Stores, LLC
       (6461); Gym-Card, LLC (5720); and Gymboree Island, LLC (1215). The Debtors’ service address is
       71 Stevenson Street, Suite 2200, San Francisco, California 94105.
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                                                                                 Core/2002 Email Service List
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Centennial Real Estate Company, Deutsche Asset &
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Owner, LLC, MontebelloTown Center Investors, LLC,
PGIM Real Estate, Retail Properties of America, Inc.,
Southgate Mall Associates LLP, The Forbes Company,
Tybab Partners LLC, Valley Square Owner, LLC,
WBCMT 2007-C33 Independence Center LLC, and YTC
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                    DESCRIPTION                                         NAME                                   NOTICE NAME                                  EMAIL
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LLC, Horizon Atlanta Outlet Shoppes, LLC, El
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Mall; Huntington Mall Company dba Huntington
Mall; Kentucky Oaks Mall Company dba Kentucky
Oaks Mall; Cafaro-Peachcreek Joint Venture
Partnership dba Millcreek Mall; Sandusky Mall
Company dba Sandusky Mall; The Cafaro Northwest
Partnership dba South Hill Mall; and Spotsylvania
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                                                                                Core/2002 Email Service List
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Centennial Real Estate Company, CenterCal
Properties LLC, ARC SWWMGPA001, LLC, Starwood
Retail Partners LLC, The Macerich Company, and
Federal Realty Investment Trust (collectively, the
"Landlords") and Taubman Cherry Creek Shopping
Center L.L.C., Dolphin Mall Associates LLC, Fairfax
Company of Virginia L.L.C., The Gardens on El
Paseo LLC, Taubman Auburn Hills Associates
Limited Partnership, Tampa Westshore Associates
Limited Partnership, Plaza Internacional Puerto
Rico LLC, Short Hills Associates, L.L.C., Rich-
Taubman Associates, Sunvalley Shopping Center
LLC, TVO Mall Owner LLC, TB Mall at UTC LLC, and
West Farms Mall, LLC, BP Prucenter Acquisition
LLC, Legacy Place LLC, Market Street Retail South
LLC, OWRF Carmel LLC, W/S/M Hingham Properties
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                                                                                         Attn: Legal Department
                                                                                         P.O. Box 75000
   Store-Level Depository Account              Comerica Bank                             Detroit MI 48275-2325
                                                                                         Attn: Donald C. Cowan, Jr.
                                                                                         1265 Scottsville Road
   Counsel to Eastview Mall, LLC               Eastview Mall, LLC                        Rochester NY 14624
                                                                                         Attn: Legal Department
                                                                                         220 Liberty St
   Store-Level Depository Account              Five Star Bank                            Warsaw NY 14569
                                                                                         Attn: Jennifer Byrd, CTP & SVP
                                                                                         The Huntington National Bank
                                                                                         41 S. High Street - EASBSC
   Store-Level Depository Account              Huntington National Bank                  Columbus OH 43287
                                                                                         Attn: Karen Vogel
                                                                                         940 West Main Street
                                                                                         Suite 106
   The County of Imperial, California          Imperial County Treasurer-Tax Collector   El Centro CA 92243
                                                                                         Attn: Centralized Insolvency Operation
                                                                                         P.O. Box 7346
   IRS Insolvency Section                      Internal Revenue Service                  Philadelphia PA 19101-7346




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                                                                  Exhibit B
                                                        Core/2002 Overnight Service List
                                                           Served via Overnight Mail

                      DESCRIPTION                                    NAME                                        ADDRESS
                                                                                               Attn: Kenneth T. Cuccinelli II
                                                                                               900 E. Main St.
   Office of the Attorney General of Virginia     Office of the Attorney General of Virginia   Richmond VA 23219
                                                                                               Office of the Chief Counsel
                                                                                               1200 K Street, NW
   Pension Benefit Guaranty Corporation           Pension Benefit Guaranty Corporation         Washington DC 20005-4026
                                                                                               Attn: Steven W. Kelly, Esq
                                                                                               1290 Broadway, Suite 1650
   Agent for CPBP-VII Associates, L.P.            S&D Law                                      Denver CO 80203
                                                                                               Attn: Legal Department
                                                                                               1500 Pennsylvania Ave, NW
   US Secretary of Treasury                       Secretary of Treasury                        Washington DC 20220
                                                                                               Attn: Office of Customer Services
                                                                                               P.O. Box 1115
   Virginia Department of Taxation                Virginia Department of Taxation              Richmond VA 23218-1115
                                                                                               Attn: Legal Department
                                                                                               Cnr Church St & George St
   Non-Store Account                              Westpac Parramatta Branch                    Parramatta NSW 2150 Australia




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                                   Exhibit C
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                                                                             Exhibit C
                                                                     Auction Parties Service List
                                                                     Served via Overnight Mail

                                  DESCRIPTION                                                   NAME                              ADDRESS
                                                                                                                Attn: Lamont Connie
                                                                                                                555 California Street
                                                                                                                10th Floor
Non-Store Account                                                         Bank of America Merrill Lynch         San Francisco CA 94104
                                                                                                                Attn: Tyler P. Brown, Justin F. Paget
                                                                                                                Riverfront Plaza, East Tower
                                                                                                                951 East Byrd Street
Co-Counsel to Bank of America, N.A.                                       Hunton Andrews Kurth LLP              Richmond VA 23219
                                                                                                                Attn: W. Austin Jowers, Christopher
                                                                                                                G.Boies, Michael R. Handler
Counsel to Goldman Sachs Specialty Lending Group, L.P. as                                                       1185 Avenue of the Americas
administrative and collateral agent under the Term Loan Credit                                                  35th Floor
Agreement;                                                                 King & Spalding LLP                  New York NY 10036-4003
Proposed co-counsel to the Debtors’ proposed postpetition secured
lenders (Goldman Sachs), Co-Counsel to Goldman Sachs Specialty                                                  Attn: Dion W. Hayes, Douglas M. Foley,
Lending Group, Inc. in its Capacity as Prepetition Term Loan Agent and                                          and Sarah B. Boehm
Special Situations Investing Group, Inc. in its Capacity as Term DIP Agent                                      800 East Canal Street
and Term Lender                                                            McGuireWoods LLP                     Richmond VA 23219-3916
                                                                                                                Attn: Julia Frost-Davies, Robert A.J. Barry,
                                                                                                                Amelia Clark Joiner
                                                                                                                One Federal Street
Co-Counsel to Bank of America, N.A.                                       Morgan, Lewis & Bockius LLP           Boston MA 02110
                                                                                                                Attn: Hugh M. Bernstein
                                                                                                                101 West Lombard Street
                                                                                                                Suite 2625
United States Trustee Eastern District of Virginia                        Office of the United States Trustee   Baltimore MD 21201




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                                                               Auction Parties Service List
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                                  DESCRIPTION                                             NAME                              ADDRESS
                                                                                                          Attn: Robert B. Van Arsdale
                                                                                                          701 E. Broad St.
                                                                                                          Ste 4304
United States Trustee Eastern District of Virginia                  Office of the United States Trustee   Richmond VA 23219
                                                                                                          Attn: Jeffrey N. Pomerantz, Esq.
                                                                                                          10100 Santa Monica Boulevard
                                                                                                          13th Floor
Counsel to the Official Committee of Unsecured Creditors            Pachulski Stang Ziehl & Jones LLP     Los Angeles CA 90067-4100
                                                                                                          Attn: Robert J. Feinstein, Esq. and
                                                                                                          Bradford J. Sandler, Esq.
                                                                                                          780 Third Avenue
                                                                                                          34th Floor
Counsel to the Official Committee of Unsecured Creditors            Pachulski Stang Ziehl & Jones LLP     New York NY 10017-2024
                                                                                                          Attn: Christopher A. Jones, Michael E.
                                                                                                          Hastings and Jennifer E. Wuebker
                                                                                                          901 E. Cary Street
                                                                                                          Suite 500
Counsel to the Official Committee of Unsecured Creditors            Whiteford, Taylor & Preston, LLP      Richmond VA 23219-4063




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